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82030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
  Adversary actions based on fraud.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


       5/27/2023                                         /s/ Michael R. Totaro
                      Date                            Michael R. Totaro                          Bar No. 102229
                                                      Totaro & Shanahan
                                                      P.O. Box 789
                                                      Pacific Palisades, CA 90272
                                                      Phone: (888) 425-2889 / Fax: (310) 496-1260
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